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 5
                                                                              CLERK U.S. BANKRUPTCY COURT
     Attorneys for David K. Gottlieb, Chapter 11 Trustee                      Central District of California
 6                                                                            BY Ogier      DEPUTY CLERK


 7
                                                                       CHANGES MADE BY COURT
 8                                     UNITED STATES BANKRUPTCY COURT

 9                                      CENTRAL DISTRICT OF CALIFORNIA

10                                       SAN FERNANDO VALLEY DIVISION

11   In re:                                                     Case No.: 1:18-bk-10098-MB
12
     PENTHOUSE GLOBAL MEDIA, INC.,                              Chapter 11
13
                                          Debtor.               Jointly Administered with Cases Nos.:
14                                                              1:18-bk-10099-MB; 1:18-bk-10101-MB;
            Affects All Debtors                                 1:18-bk-10102-MB; 1:18-bk-10103-MB;
15          Affects Penthouse Global Broadcasting, Inc.         1:18-bk-10104-MB; 1:18-bk-10105-MB;
            Affects Penthouse Global Licensing, Inc.
                                                                1:18-bk-10106-MB; 1:18-bk-10107-MB;
16          Affects Penthouse Global Digital, Inc.
            Affects Penthouse Global Publishing, Inc.           1:18-bk-10108-MB; 1:18-bk-10109-MB;
17          Affects GMI Online Ventures, Ltd.                   1:18-bk-10110-MB; 1:18-bk-10111-MB;
            Affects Penthouse Digital Media Productions, Inc.   1:18-bk-10112-MB; 1:18-bk-10113-MB
18          Affects Tan Door Media, Inc.
            Affects Penthouse Images Acquisitions, Ltd.
19          Affects Pure Entertainment Telecommunications,      ORDER ESTABLISHING DEADLINE
     Inc.                                                       FOR THE FILING OF CHAPTER 11
20          Affects XVHUB Group, Inc.                           ADMINISTRATIVE CLAIMS INCURRED
            Affects General Media Communications, Inc.
            Affects General Media Entertainment, Inc.           BETWEEN JANUARY 11, 2018 AND
21          Affects Danni Ashe, Inc.                            JUNE 15, 2018
            Affects Streamray Studios, Inc.
22
                                                                [No Hearing Required Unless Requested]
23

24              Upon the Motion of Chapter 11 Trustee for Order Establishing Deadline for the Filing of

25   Chapter 11 Administrative Claims Incurred Between January 11, 2018 and June 15, 2018 [Dkt. No.

26   684] (the “Motion”), seeking the entry of an order, pursuant to section 503(b) of title 11 of the

27   United States Code (the “Bankruptcy Code”) (i) fixing a bar date for the filing of chapter 11

28   administrative claims incurred between January 11, 2018 – June 15, 2018; (ii) approving the manner

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 1   and method of notice thereof; and (iii) granting related relief; and it appearing that the relief sought

 2   in the Motion and the entry of this Order is appropriate, necessary, reasonable and in the best

 3   interests of the Debtors’ estates (the “Estates”); and no adverse interest being represented, and

 4   sufficient cause appearing therefore, and upon due deliberation given,

 5           IT IS HEREBY ORDERED that:

 6           1.       The Motion is granted in its entirety;

 7           2.       Requests for payment of chapter 11 administrative claims allowable under section

 8   503(b) of title 11 of the Bankruptcy Code incurred between January 11, 2018 and June 15, 2018

 9   (“Chapter 11 Administrative Claim”), shall be filed with the Clerk of the Court on the main case

10   docket (not the claims docket) for the United States Bankruptcy Court, Central District of California,

11   San Fernando Valley Division (the “Court Clerk”), on or before November 21, 2018, October 22,

12   2018 (the “Chapter 11 Administrative Claims Bar Date”), at the office of the Court Clerk as set forth

13   in Bar Date Notice;

14           3.       Each request for payment for a Chapter 11 Administrative Claim must set forth (a)

15   the name, address and telephone number of the claimant; (b) the amount of the Chapter 11

16   Administrative Claim; (c) a description for the basis for the Chapter 11 Administrative Claim; and

17   (d) documentary evidence supporting the Chapter 11 Administrative Claim;

18           4.       If a person or entity fails to timely file and serve a Chapter 11 Administrative Claim

19   request by the Chapter 11 Administrative Claims Bar Date as required above, then such person or

20   entity shall be forever barred, estopped and enjoined from asserting or receiving any distribution

21   with respect to any such Chapter 11 Administrative Claim, and the Estates shall be forever

22   discharged and released from any and all indebtedness or liability with respect to any such Chapter

23   11 Administrative Claim;

24           5.       The Trustee is authorized to cause notice of the Chapter 11 Administrative Claims

25   Bar Date to be mailed by first class mail no later than two business days following the entry of this

26   order to: (i) any party who, upon reasonable investigation by the Trustee, has provided goods or

27   services to the Debtors or the Estates between January 11, 2018 and June 15, 2018; (ii) all entities

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 1   that filed a request for special notice; and (iii) all other parties known by the Trustee that may hold

 2   Chapter 11 Administrative Claims; and

 3           6.       The Court shall retain jurisdiction to interpret, implement and enforce the terms and

 4   provisions of this Order.

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       Date: October 19, 2018
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